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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                              CRIMINAL NO. 06-20122
                    Plaintiff,
                                              HONORABLE AVERN COHN
v.


D-3, DAVID ACETO,

                    Defendant.
                                       /


          ORDER GRANTING DEFENDANT’S MOTION TO EXTEND TIME
                 TO SURRENDER TO BUREAU OF PRISONS

      Before the Court is the above referenced motion. The defendant seeks an extension

of the January 09, 2008 surrender date to the designated institution by the Bureau of

Prisons until February 01, 2008. The Court being fully advised in the premises,

      IT IS HEREBY ORDERED that motion is GRANTED. The Defendant’s report date

be extended until Monday, February 04, 2008.

      IT IS FURTHER ORDERED that the Defendant is to voluntarily surrender for the

commencement of his sentence before 2:00 p.m at the designated institution.

      SO ORDERED.




Dated: January 02, 2008                    s/ Avern Cohn
                                           AVERN COHN
                                           UNITED STATES DISTRICT JUDGE
